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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Newport News Division

     JOHN BRYANT,                         )
     et al.                               )
                                          )
                              Plaintiffs, )
                                          )                     No. 4:20-cv-00061-AWA-LRL
                    v.                    )
                                          )
     KING’S CREEK PLANTATION, L.LC.,      )
     et al.                               )
                                          )
                            Defendants. )


                                  STIPULATION OF DISMISSAL

          The plaintiffs file this stipulation of dismissal with prejudice pursuant to Fed. R. Civ. P.

 41(a)(1)(A)(ii) of all claims against the defendants. None of the rights of any putative class

 members, other than the plaintiffs, have been released or are otherwise affected by this dismissal.

 SERVED AND DATED this 16th day of December, 2020.

                                                 Respectfully submitted,

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  IF COMPARE 120,COMPARE1=11)019053601v1
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 SEEN AND AGREED:


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  IF COMPARE 221,COMPARE1=11)119053601v119053601v1
